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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   GENEVA LANGWORTHY,

 9                              Plaintiff,                 Case No. C20-1637-JCC

10          v.                                             ORDER GRANTING APPLICATION
                                                           TO PROCEED IN FORMA PAUPERIS
11   WHATCOM COUNTY SUPERIOR
     COURT et al.,
12
                                Defendant.
13

14          Plaintiff has filed an amended application to proceed in forma pauperis (“IFP”) in the

15   above-entitled action. (Dkt. # 1.) Plaintiff does not appear to have funds available to afford the

16   $400.00 filing fee. Accordingly, Plaintiff’s amended application to proceed in forma pauperis

17   (dkt. # 1) is GRANTED. However, the Court recommends the complaint be reviewed under 28

18   U.S.C. § 1915(e)(2)(B) before issuance of summons. The Clerk is directed to send copies of this

19   order to the parties and to the Honorable John C. Coughenour.

20          Dated this 6th day of November, 2020.

21

22
                                                           A
                                                           MICHELLE L. PETERSON
                                                           United States Magistrate Judge
23



     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
            Case 2:20-cv-01637-JCC Document 4 Filed 11/06/20 Page 2 of 2




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     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 2
